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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

BRISTOL-MYERS SQUIBB COMPANY and                   )
PFIZER INC. ,                                      )
                                                   )
       Plaintiffs and Counterclaim-Defendants      )
                                                   )
       V.                                          )      C.A. No. 17-374-LPS
                                                   )      (CONSOLIDATED)
AUROBINDO PHARMA USA INC. and                      )
AUROBINDO PHARMA LTD.,                             )
                                                   )
       Defendants and Counterclaim-Plaintiffs.     )
                                                   )


                                           ORDER

       At Wilmington this 18th day of October, 2018 :

       For the reasons set forth in the Memorandum Opinion issued this date,

       IT IS HEREBY ORDERED that the disputed terms in this case are construed as

follows:


 Claim Term             Court's Construction

 "pharmaceutically      "derivatives of the disclosed compounds wherein the parent
 acceptable salts"      compound is modified by
                        making acid or base salts thereof, which are, within the scope of
                        sound medical judgment, suitable for use in contact with the tissues of
                        human beings and animals without excessive toxicity, irritation,
                        allergic response, or other problem or complication, commensurate
                        with a reasonable benefit/risk ratio"

 "apaxiban particles    plain and ordinary meaning
 have a D 90"

       IT IS FURTHER ORDERED that Unichem' s motion to strike (D.I. 25           is DENIED.

                                                              Q./'v ~
                                                   UNITED S ATES DIST
